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                                                                           155 Seaport Blvd.
                                                                           Boston, MA 02210
                                                                           617.832.1000 main




                                                                           Matthew C. Baltay
                                                                           617-832-1262 direct
                                                                           mbaltay@foleyhoag.com



February 17, 2023

Hon. Lorna G. Schofield
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse, 40 Foley Square
New York, NY 10007

Re:         Loomis Sayles Trust Company, LLC v. Citigroup Global Markets Inc., 22-cv-6706-LGS

Dear Judge Schofield:
       Pursuant to Rule I.D.3 of Your Honor’s Individual Rules and Procedures for Civil Cases
and the Stipulated Protective Order for Confidential Information (Dkt. No. 40), Plaintiff Loomis
Sayles Trust Company, LLC (“LSTC”) respectfully submits its letter brief regarding Citigroup’s
as-converted summary judgment motion to be filed under seal. LSTC has publicly filed a
redacted version of its letter brief.

       The letter brief references information that has been designated as “Confidential” by
Citigroup pursuant to the Protective Order entered in this matter on November 21, 2022 (Dkt.
No. 40). LSTC does not believe this information should be filed under seal and is only filing as
such based on Citigroup’s designation.




                                                 Respectfully submitted,


                                                 /s/ Matthew C. Baltay




      cc:    Counsel of Record (via ECF)




       ATTORNEYS AT LAW                             BOSTON | NEW YORK | PARIS | WASHINGTON | FOLEYHOAG.COM
